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                          UNITED STATES DISTRICT COURT FOR
                              THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                       Plaintiff,

       vs.                                                         4:14CR3051

BILLY J. SCHRADER and
JULIE R. THIEMANN,                                      FINAL ORDER OF FORFEITURE

                       Defendants.


       This matter comes on before the Court upon the United States= Motion for Final Order of

Forfeiture (Filing No. 136). The Court reviews the record in this case and, being duly advised in

the premises, finds as follows:

       1. On April 27, 2015, the Court entered a Preliminary Order of Forfeiture (Filing No. 128)

pursuant to the provisions of Title 18, United States Code, Sections 2251(b)(2), 2 and 2253, based

upon the Defendants pleas of guilty to Counts I and IV and the Forfeiture Allegation of the

Indictment filed herein. By way of said Preliminary Order of Forfeiture, the Defendants interest

in the following properties was forfeited to the United States:

             1. One Dell Studio 153 7 laptop, service tag number 8LZYLH 1;

             2. One Hitachi 250 GB hard drive, serial number 081113FC3DOONJG2RJ9C;

             3. One Toshiba 40GB hard drive, serial number 63G31195S;

             4. One Motorola Droid 3 cellphone, serial number L826QS7MSS;

             5. One Dell Studio PP39L laptop, serial number 76WD8M1;

             6. One Seagate 320GB hard drive, serial number 5VJ37BZR;

             7. One Motorola Droid 2 cellphone, serial number L516NS5L VK; and
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            8. One Samsung 2GB Micro SD card,

       2. Notice of Criminal Forfeiture was posted on an official internet government forfeiture

site, www.forfeiture.gov, for at least thirty consecutive days, beginning on April 27, 2015, as

required by Rule G(4)(a)(iv)(C) of the Supplemental Rules for Admiralty or Maritime Claims and

Asset Forfeiture Actions. A Declaration of Publication was filed herein on July 9, 2015 (Filing

No. 135).

       3. The Court has been advised by the United States no Petitions have been filed. From a

review of the Court file, the Court finds no Petitions have been filed.

       4. The Plaintiff=s Motion for Final Order of Forfeiture should be sustained.

       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED as follows:

       A. The Plaintiff=s Motion for Final Order of Forfeiture is hereby sustained.

       B.    All right, title and interest in and to the following properties, held by any person or

entity, are hereby forever barred and foreclosed:

            1. One Dell Studio 153 7 laptop, service tag number 8LZYLH 1;

            2. One Hitachi 250 GB hard drive, serial number 081113FC3DOONJG2RJ9C;

            3. One Toshiba 40GB hard drive, serial number 63G31195S;

            4. One Motorola Droid 3 cellphone, serial number L826QS7MSS;

            5. One Dell Studio PP39L laptop, serial number 76WD8M1;

            6. One Seagate 320GB hard drive, serial number 5VJ37BZR;

            7. One Motorola Droid 2 cellphone, serial number L516NS5L VK; and

            8. One Samsung 2GB Micro SD card,

       C. The aforementioned properties described above, be, and the same hereby are, forfeited

to the United States of America.
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     D. The United States is directed to dispose of said properties in accordance with law.

     DATED this 10th day of July, 2015.


                                                 BY THE COURT:

                                                 s/ Richard G. Kopf
                                                 Senior United States District Judge
